        Case 1:17-cv-11008-MLW Document 32 Filed 08/07/17 Page 1 of 5
        Case l:15-cv-10698-MLW Document 582 Filed 06/30/17 Page lot6



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



JANSSEN BIOTECH,INC. and
NEW YORK UNIVERSITY

                             Plaintiffs,
                                                          Civil Action No. 1:15-cv-10698
        VS.                                               Civil Action No. l:16-cv-11117


CELLTRION HEALTHCARE CO., LTD.,
CELLTRION,INC., and
HOSPIRA,INC.

                              Defendants.




                    JOINT STIPULATION AND ffiROPOGEDl ORDER
                                                                                      ;::r
        WHEREAS,Plaintiff Janssen Biotech, Inc.("Janssen") in Civil Action No, l:15-cv-

10698 ("the 2015 Action") asserted a claim, titled "Count 6," ofinfringement of U.S. Patent No.

7,598,083 ("the '083 patent") under 35 U.S.C. § 271(e)(2)(C)(ii) against Defendants for

infringement of the '083 patent;

        WHEREAS,Plaintiffs asserted a claim titled "Count 1: Violation of Mandatory

Procedures Under 42 U.S.C. § 262(/)" in the 2015 Action;

        WHEREAS,Janssen, the Plaintiff in Civil Action No. l:16-cv-l 1117("the 2016

Action"), asserted claims of direct and induced infringement ofthe '083 patent under 35 U.S.C.

§ 271(a) and(b) against Celltrion Healthcare Co., Ltd. and Celltrion, Inc.(collectively,

"Celltrion"), and claims ofinduced infringement ofthe '083 patent under 35 U.S.C. § 271(b)

against Hospira, Inc.("Hospira");

        WHEREAS,Celltrion and Hospira asserted counterclaims seeking declaratory judgments

of non-infringement and invalidity and/or unenforceability ofthe '083 patent in the 2016 Action;


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       Case 1:17-cv-11008-MLW Document 32 Filed 08/07/17 Page 2 of 5
       Case l:15-cv-10698-MLW Document 582 Filed 06/30/17 Page 2 of 6



       WHEREAS,on May 31,2017, Janssen filed Civil Action No. l:17-cv-l 1008 ("the 2017

Action"), asserting claims of direct and induced infringement ofthe '083 patent against Celltrion

under 35 U.S.C. § 271(a) and (b), direct and induced infringement ofthe '083 patent against

Hospira under 35 U.S.C. § 271(a) and (b), and technical infnngement of the '083 patent against

Celltrion and Hospira under 35 U.S.C. § 271(e)(2)(C)(i) or (ii);

       WHEREAS,Plaintiff Janssen proposed to voluntarily dismiss its claims for infiingement

ofthe '083 patent in the 2015 Action and the entirety ofthe 2016 Action, without prejudice, with

proceedings in those actions related to the '083 patent to be considered part ofthe record of the

2017 Action;

       WHEREAS,Defendants consented to dismissal of Janssen's claims for infringement of

the '083 patent in the 2015 Action and the entirety ofthe 2016 Action without prejudice, subject

to and in accordance with the below stipulated terms;

       WHEREAS,Defendants propose that the Court should dismiss with prejudice Plaintiffs

Janssen and New York University's "Count 1: Violation of Mandatory Procedures Under 42

U.S.C. § 262(/)" in the 2015 Action, based on the June 12, 2017 Supreme Court decision in

Sandoz Inc. v. Amgen Inc. et al, holding, inter alia, that "an injunction under federal law is not

available to enforce § 262(/)(2)(A)";

        WHEREAS,Plaintiffs have consented to dismissal with prejudice of Count 1 ofthe 2015

Action;

       NOW THEREFORE,IT IS HEREBY STIPULATED AND AGREED that:

        1.     Janssen's claim for infringement of the '083 patent in the 2015 Action, Count 6,

shall be dismissed without prejudice;

       2.      Janssen and New York University's Count 1 from the 2015 Action shall be
        Case 1:17-cv-11008-MLW Document 32 Filed 08/07/17 Page 3 of 5
         Case l:15-cv-10698-MLW Document 582 Filed 06/30/17 Page 3 of 6



dismissed with prejudice;

        3.     The 2016 Action, including Janssen's claims and Defendants' counterclaims,

shall be dismissed without prejudice;

        4.     All proceedings in the 2015 and 2016 Actions that pertain at least in part to the

'083 patent(including but not limited to discovery, pending motions, other filings, hearings,

rulings, and orders) with the exception of complaints, answers to complaints, counterclaims,

answers to counterclaims. Defendants' February 22,2017 motion to dismiss for lack of standing

(No. 15-10698 Dkt. 507), and briefs related to Defendants' February 22, 2017 motion to dismiss

for lack of standing, shall be considered part of the record of the 2017 Action';

        5.     Notwithstanding the foregoing, certain motions pending in the 2015 and 2016

Actions, and/or certain documents filed in connection with pending motions, may require

updates or amendments before being ruled upon by the Court in the 2017 Action. Any party may

seek leave to make such updates or amendments, and neither the dismissal of claims in the 2015

and 2016 Actions, the filing ofthe 2017 Action, or this stipulation shall be a basis to oppose any

such request for leave;

        6.      All decisions that would be considered appealable, and all issues that would be

considered preserved for appeal, in the 2015 and 2016 Actions, absent the stipulated dismissals,

shall retain their status as appealable or preserved for appeal in the 2017 Action;

        7.      To the extent disputes arise regarding whether a particular discovery item,

motion, other filing, ruling, or order should be considered to apply in the 2017 Action, the parties

will work together in good faith to resolve any such dispute.


'       Non-limiting examples of things that do not pertain at least in part to the '083 patent and
shall not be considered part ofthe 2017 Action include filings and orders related exclusively to
the '471 patent and stipulations of dismissal of Counts in the 2015 Action.
        Case 1:17-cv-11008-MLW Document 32 Filed 08/07/17 Page 4 of 5
        Case l:15-cv-10698-MLW Document 582 Filed 06/30/17 Page 4 of 6



Dated: June 30, 2017                           Dated: June 30,2017

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         Case 1:17-cv-11008-MLW Document 32 Filed 08/07/17 Page 5 of 5
         Case l:15-cv-10698-MLW Document 582 Filed 06/30/17 Page 5 of 6



IT IS SO ORDERED.



Dated:                     1. toi f

                                             UNITED STATES DISTRICT JUDGE




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